
684 S.E.2d 439 (2009)
363 N.C. 659
STATE of North Carolina
v.
Christopher Lee GIDDENS.
No. 363A09.
Supreme Court of North Carolina.
September 3, 2009.
James R. Parish, Fayetteville, for Christopher Lee Giddens.
Anne M. Middleton, Assistant Attorney General, for State of North Carolina.
Prior report: ___ N.C.App. ___, 681 S.E.2d 504.

ORDER
Upon consideration of the petition filed by State of NC on the 3rd of September 2009 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
Allowed by order of the Court in conference, this the 3rd of September 2009.
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
